
Per curiam.
Bronson has admitted to violations of Standards 61, 63, and 64 of Bar Rule 4-102, in that he failed to account promptly to his client for funds belonging to that client and received by him. This court held that the recommendation of the Review Panel of the State Disciplinary Board of a 60-day suspension was inadequate and inappropriate, and remanded the matter for further proceedings. In the Matter of Bronson, 259 Ga. 584 (385 SE2d 663) (1989). Pursuant to remand, the Review Panel recommended a 90-day suspension. The recommenda*167tion of the Review Panel is approved and adopted.
Decided April 11, 1991.
William P. Smith III, General Counsel State Bar, Jenny K. Mittelman, Assistant General Counsel State Bar, for State Bar of Georgia.

Suspended for 90 days.


All the Justices concur.

